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                                                           BARSHAY SANDERS, PLLC
                                                           100 Garden City Plaza, Suite 500
                                                           Garden City, New York 11530
                                                           Tel: (516) 203-7600
                                                           Fax: (516) 706-5055
                                                           Email: ConsumerRights@BarshaySanders.com
                                                           Attorneys for Plaintiff
                                                           Our File No.: 111014

                                                                                        UNITED STATES DISTRICT COURT
                                                                                        EASTERN DISTRICT OF NEW YORK



                                                           Lana Flores,                                                  Docket No:

                                                                                   Plaintiff,                            COMPLAINT

                                                                                        vs.
                                                                                                                         JURY TRIAL DEMANDED
                        100 GARDEN CITY PLAZA, SUITE 500
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                         GARDEN CITY, NEW YORK 11530




                                                           Mercantile Adjustment Bureau, LLC and Midland
                                                           Credit Management, Inc.,

                                                                                 Defendants.


                                                                  Lana Flores (hereinafter referred to as “Plaintiff”), by and through the undersigned
                                                           counsel, complains, states and alleges against Mercantile Adjustment Bureau, LLC and Midland
                                                           Credit Management, Inc. (hereinafter referred to collectively as “Defendants”), as follows:
                                                                                                    INTRODUCTION
                                                                   1.     This action seeks to recover for violations of the Fair Debt Collection Practices
                                                           Act, 15 U.S.C. § 1692, et seq., (“FDCPA”).


                                                                                                JURISDICTION AND VENUE
                                                                   2.     This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. §1331 and
                                                           15 U.S.C. § 1692k(d).
                                                                   3.     Venue is proper under 28 U.S.C. §1391(b) because a substantial part of the events
                                                           or omissions giving rise to the claim occurred in this Judicial District.




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                                                                   4.     At all relevant times, Defendants conducted business within the State of New
                                                           York.
                                                                                                       PARTIES

                                                                   5.     Lana Flores is an individual who is a citizen of the State of New York in Nassau
                                                           County, New York.
                                                                   6.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
                                                                   7.     On information and belief, Defendant Mercantile Adjustment Bureau, LLC, is a
                                                           New York Limited Liability Company with a principal place of business in Erie County, New
                                                           York.
                                                                   8.     On information and belief, Defendant Midland Credit Management, Inc., is a
                                                           California Corporation with a principal place of business in San Diego County, California.
                                                                   9.     Defendants are regularly engaged, for profit, in the collection of debts allegedly
                                                           owed by consumers.
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                                                                   10.    Defendants are “debt collectors” as defined by 15 U.S.C. § 1692a(6).

                                                                                                   ALLEGATIONS

                                                                   11.    Defendants allege Plaintiff owes certain debts (“the debts”).
                                                                   12.    The debts were primarily for personal, family or household purposes and are
                                                           therefore “debts” as defined by 15 U.S.C. § 1692a(5).
                                                                   13.    Sometime after the incurrence of the debts Plaintiff fell behind on payments
                                                           owed.
                                                                   14.    Plaintiff’s accounts accrued interest.
                                                                   15.    Plaintiff’s accounts accrued late fees.
                                                                   16.    Plaintiff’s accounts are interest bearing accounts.
                                                                   17.    Thereafter, at an exact time known only to Defendants, the debts were assigned or
                                                           otherwise transferred to Defendants for collection.
                                                                   18.    In its efforts to collect the debt assigned to it, Defendant Mercantile Adjustment
                                                           Bureau, LLC contacted Plaintiff by letter dated March 9, 2016. (“Exhibit 1.”)
                                                                   19.    In its efforts to collect the debt assigned to it, Defendant Midland Credit
                                                           Management, Inc. contacted Plaintiff by letter dated April 13, 2016. (“Exhibit 1.”)
                                                                   20.    The letters are “communications” as defined by 15 U.S.C. § 1692a(2).


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                                                                   21.     15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
                                                           misleading representation or means in connection with the collection of any debt.
                                                                   22.     The question of whether a collection letter is deceptive is determined from the
                                                           perspective of the “least sophisticated consumer.”
                                                                   23.     While § 1692e specifically prohibits certain practices, the list is non-exhaustive,
                                                           and does not preclude a claim of falsity or deception based on any non-enumerated practice.
                                                                   24.     A collection letter is deceptive under 15 U.S.C. § 1692e if it can reasonably be
                                                           read by the least sophisticated consumer to have two or more meanings, one of which is
                                                           inaccurate.
                                                                   25.     A collection letter is also deceptive under 15 U.S.C. § 1692e if it is reasonably
                                                           susceptible to an inaccurate reading by the least sophisticated consumer.
                                                                   26.     15 U.S.C. § 1692e requires debt collectors, when they notify consumers of their
                                                           account balance, to disclose whether the balance may increase due to interest and fees. Avila v.
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                                                           Riexinger & Associates, LLC, 817 F.3d 72, 76 (2d Cir. 2016).
                         GARDEN CITY, NEW YORK 11530




                                                                   27.     A debt collector has the obligation not just to convey the amount of the debt, but
                                                           to convey such clearly.
                                                                   28.     The letters set forth a “Current Balance.”
                                                                   29.     The letters fail to disclose whether the “Current Balance” may increase due to
                                                           additional interest.
                                                                   30.     The letters fail to disclose whether the “Current Balance” may increase due to
                                                           additional late fees.
                                                                   31.     The letters fail to include any “safe harbor” language concerning the accrual of
                                                           interest and/or fees.Avila v. Riexinger & Associates, LLC, 817 F.3d 72, 76 (2d Cir. 2016).
                                                                   32.     The letters, because of the aforementioned failures, and especially because of the
                                                           use of the word “Current,” would render the least sophisticated consumer unable to determine
                                                           the amount of his or her debt.
                                                                   33.     The letters because of the aforementioned failures,and especially because of the
                                                           use of the word “Current,” would render the least sophisticated consumer unable to determine
                                                           the amount of his or her debt because the consumer would not know whether interest and fees
                                                           would continue to accrue, or whether the amount of the debt was static.
                                                                   34.     The letters, because of the aforementioned failures, could be read by the least



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                                                           sophisticated consumer to mean that the “Balance” was static.
                                                                    35.    The letters, because of the aforementioned failures, could also reasonably read the
                                                           letter to mean that the “Balance” was dynamic due to the continued accumulation of interest
                                                           and/or late fees.
                                                                    36.    Because the letters are susceptible to an inaccurate reading by the least
                                                           sophisticated consumer, as described, they are deceptive under 15 U.S.C. § 1692e.
                                                                    37.    Because the letters can reasonably be read by the least sophisticated consumer to
                                                           have two or more meanings, one of which is inaccurate, they are deceptive under 15 U.S.C. §
                                                           1692e.
                                                                    38.    Defendants violated 15 U.S.C. § 1692e by using a false, deceptive and misleading
                                                           representation in its attempt to collect a debt.


                                                                                                     JURY DEMAND
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                                                                    39.    Plaintiff hereby demands a trial of this action by jury.

                                                                                                 PRAYER FOR RELIEF

                                                                    WHEREFORE, Plaintiff respectfully requests judgment as follows:
                                                                    a.     Damages against Defendant Mercantile Adjustment Bureau, LLC in favor of
                                                           Plaintiff pursuant to 15 U.S.C. § 1692k; and
                                                                    b.     Damages against Defendant Midland Credit Management, Inc. in favor of
                                                           Plaintiff pursuant to 15 U.S.C. § 1692k; and
                                                                    c.     Plaintiff’s attorneys’ fees pursuant to 15 U.S.C. § 1692k; and
                                                                    d.     Plaintiff’s costs; all together with
                                                                    e.     Such other relief that the Court determines is just and proper.




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                                                           DATED: January 18, 2017

                                                                                              BARSHAY SANDERS, PLLC

                                                                                              By:     s/ Craig B. Sanders
                                                                                              Craig B. Sanders, Esq.
                                                                                              100 Garden City Plaza, Suite 500
                                                                                              Garden City, New York 11530
                                                                                              Tel: (516) 203-7600
                                                                                              Fax: (516) 706-5055
                                                                                              csanders@barshaysanders.com
                                                                                              Attorneys for Plaintiff
                                                                                              Our File No.: 111014
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC

                         GARDEN CITY, NEW YORK 11530




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